     Case: 1:18-cv-02958 Document #: 78 Filed: 03/27/19 Page 1 of 2 PageID #:4587



                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,

        Plaintiffs,                                           Case No.: 1:18-cv-2958

v.                                                            Judge Rebecca R. Pallmeyer

THE PARTNERSHIPS AND UNINCORPORATED                           Magistrate Judge Young B. Kim
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 2, 2018 [44], in favor of

Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff acknowledges

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                      No.                       Defendant
                      332                   Plastic Carrie trade

       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
   Case: 1:18-cv-02958 Document #: 78 Filed: 03/27/19 Page 2 of 2 PageID #:4588



DATED: March 25, 2019                             Respectfully submitted,



                                                  _______________________________
                                                  Yanling Jiang (Bar No. 6309336)
                                                  JiangIP LLC
                                                  233 South Wacker Drive, 84th Floor
                                                  Chicago, Illinois 60606
                                                  Telephone: 312-283-8091
                                                  Email: yanling@jiangip.com

                                                  ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 25th day of March, 2019.

Given under by hand and notarial seal.



                                           ___________________________
                                           Notary Public


                                           State of ____________________
                                           County of __________________




                                              2
